                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION

 CHARLES E. PURYEAR,                             )
                                                 )
                  Plaintiff,                     )     Case No. 2:19CV00009
                                                 )
 v.                                              )     OPINION AND ORDER
                                                 )
                                                 )
 THE HARTFORD INSURANCE                          )     By: James P. Jones
 COMPANY OF THE SOUTHEAST,                       )     United States District Judge
 ET AL.,                                         )
                                                 )
                  Defendants.                    )

       Robert B. Hines, II, Jonesville, Virginia, and John E. Jessee, Jessee, Read &
 Howard, P.C., Abingdon, Virginia, for Plaintiff; George E. Reede, Jr., and Jessica
 E. Pak, Niles, Barton & Wilmer, LLP, Baltimore, Maryland, for Defendants The
 Hartford Insurance Company of the Southeast, The Hartford Insurance Company
 of the Midwest, and Trumbull Insurance Company; James N. L. Humphreys,
 Hunter, Smith & Davis, LLP, Kingsport, Tennessee, for Defendant Heritage
 Insurance Services, Inc.

       This diversity action arises out of a commercial inland marine insurance

 policy (the “Policy”) insuring certain musical instruments. The insured has sued

 several insurance companies as well as an insurance agent for failing to cover the

 loss of the property in a fire. Two of the insurance companies and the agent have

 moved to dismiss on the grounds that the Complaint does not sufficiently allege

 that they were parties to the insurance contract. For the reasons that follow, I will

 grant the motions to dismiss.




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                                          I.

        The Complaint alleges the following facts, which I must accept as true for

 the purpose of deciding the motions to dismiss.

        Trumbull Insurance Company provided the Policy to plaintiff Charles E.

 Puryear, the named insured, covering loss of a 1959 Les Paul guitar for an amount

 up to $325,000; a 1954 Stratocaster guitar up to $45,000; and a 1961 Bandmaster

 amplifier up to $2,000. The Policy insured against losses caused by fire, among

 other things. Puryear obtained the Policy through Heritage Insurance Services,

 Inc.   The Hartford Insurance Company of the Southeast and The Hartford

 Insurance Company of the Midwest administered the Policy.

        On January 31, 2017, a fire at Puryear’s home destroyed the guitars and the

 amplifier. Puryear alleges that at that time, the Les Paul guitar was worth at least

 $325,000; the Statocaster guitar was worth at least $45,000; and the Bandmaster

 amplifier was worth at least $2,000.

        Puryear filed a claim for the value of the instruments in accord with the

 Policy. Puryear had paid the Policy premiums, and the Policy was in full force and

 effect at the time he filed the claim. However, Puryear alleges that the defendants

 have failed to pay the funds due and owing as a result of the destruction of the

 insured items. Puryear seeks damages from the defendants, jointly and severally,




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 in the amount of $372,000, the total amount of the insured loss, along with interest

 from the date of the loss, and costs and reasonable attorneys’ fees.

       Puryear filed his Complaint in state court, and the defendants timely

 removed the case to this court. 1 The defendants, other than Trumbull Insurance

 Company, have moved to dismiss the Complaint for failure to state a claim upon

 which relief can be granted pursuant to Federal Rule of Civil Procedure 12(b)(6).

 The motions to dismiss are ripe for decision. 2

                                            II.

       Federal pleading standards require that a complaint contain a “short and

 plain statement of the claim showing that the pleader is entitled to relief.” Fed. R.

 Civ. P. 8(a)(2). A Rule 12(b)(6) motion to dismiss tests the legal sufficiency of a

 complaint to determine whether the plaintiff has properly stated a claim. See

 Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999). In order to

 survive a motion to dismiss, the plaintiff must “state[] a plausible claim for relief”

 that “permit[s] the court to infer more than the mere possibility of misconduct”

 based upon its “judicial experience and common sense.” Ashcroft v. Iqbal, 556

 U.S. 662, 679 (2009). In evaluating a pleading, the court accepts as true all well-

       1
          This court has subject-matter jurisdiction based on diversity of citizenship and
 amount in controversy. 28 U.S.C. § 1332(a)(1), (c)(1).
       2
          The plaintiff has not filed a response to the motions to dismiss and the time to
 respond under the Local Rules has passed.

                                            3

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 pled facts and construes those facts in the light most favorable to the plaintiff. See

 Id. at 678-79. A complaint does not need detailed factual allegations to survive a

 motion to dismiss; however, it must have more than labels and conclusions or a

 recitation of the elements of the cause of action. Bell Atl. Corp. v. Twombly, 550

 U.S. 554, 555 (2007).

                                             A.

        Defendants, The Hartford Insurance Company of the Southeast and The

 Hartford Insurance Company of the Midwest, as well as Heritage Insurance

 Services, Inc., have moved to dismiss the Complaint for failure to state a claim

 because they contend that they are not parties to the Policy and thus they are not

 liable for the alleged breach of the Policy’s terms.

        Under Virginia law, an insurance policy is a contract, and the principles

 applicable to all contracts likewise govern insurance policies. 3 Graphic Arts Mut.


        3
           In this diversity action, Virginia’s choice-of-law rules govern. See Klaxon Co.
 v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). In Virginia, “generally, the law of
 the place where an insurance contract is written and delivered controls issues as to its
 coverage.” Buchanan v. Doe, 431 S.E.2d 289, 291 (Va. 1993). Delivery does not occur
 until the insured takes physical possession of the policy. Admiral Ins. Co. v. G4S Youth
 Servs., 634 F. Supp. 2d 605, 611 (E.D. Va. 2009) (applying Virginia law). Here, the
 Complaint does not specify where delivery occurred. However, it is reasonable to infer
 that Puryear took physical possession of the policy where he resides in Virginia, and the
 defendants have cited to Virginia law. Accordingly, I will apply Virginia law in this
 case. See Firemen’s Ins. Co. of Wash. v. Kline & Son Cement Repair, Inc., 474 F. Supp.
 2d 779, 788 (E.D. Va. 2007) (applying Virginia law after finding it reasonable to infer
 that the insurance policy at issue was delivered to the insureds in Virginia and noting that
 the parties had not contested the application of Virginia law).

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 Ins. Co. v. C.W. Warthen Co., 397 S.E.2d 876, 877 (Va. 1990). Insurance agents

 acting on behalf of insurance issuers to obtain coverage for others are not liable in

 suits alleging that the issuer breached the insurance contract. Richards Corp. v.

 McCarthy, Law No. 11849, 1991 WL 834889, at *1 (Va. Cir. Ct. Mar. 27, 1991).

 While the Corporate Disclosure Statements filed in this case show that all three of

 the insurance companies sued are affiliated with The Hartford Financial Services

 Group, Inc., there are no facts alleged that implicate any insurance coverage by any

 of the separate corporations other than Trumbull Insurance Company.

        The declarations page of the Policy names Puryear as the insured, Trumbull

 Insurance Company as the insurer, and Heritage Insurance Services, Inc., as the

 agent or broker.4 No facts alleged in the Complaint contradict those facts and

 indeed, support them. Accordingly, Puryear’s Complaint against The Hartford

 Insurance Company of the Southeast, The Hartford Insurance Company of the

 Midwest, and Heritage Insurance Services, Inc. fails to state a claim upon which

 relief can be granted.5

       4
           Although a copy of the Policy was not filed with Puryear’s Complaint, I will
 consider it in ruling on these motions to dismiss because the Complaint incorporated it by
 reference and the plaintiff does not contest the authenticity of the copy of the policy
 submitted by the defendants. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.
 308, 322 (2007).
       5
           Heritage Insurance Services, Inc. has also filed a Motion for Summary
 Judgment, in which it makes the same argument as in its Motion to Dismiss. Because I
 find that the Complaint fails to state a claim against Heritage, I find that its Motion for
 Summary Judgment is moot.
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                                         III.


      For the foregoing reasons, it is ORDERED as follows:

      1.    The motions to dismiss, ECF Nos. 7 and 10, are GRANTED and the

            action against The Hartford Insurance Company of the Southeast, The

            Hartford Insurance Company of the Midwest, and Heritage Insurance

            Services, Inc., is DISMISSED.            The Clerk shall terminate The

            Hartford Insurance Company of the Southeast, The Hartford

            Insurance Company of the Midwest, and Heritage Insurance Services,

            Inc., as parties to this case; and

      2.    The Motion for Summary Judgment by Heritage Insurance Services,

            Inc., ECF No. 13, is DENIED AS MOOT.


                                                 ENTER: April 3, 2019

                                                 /s/ James P. Jones
                                                 United States District Judge




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